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10                                  UNITED STATES DISTRICT COURT
11                               NORTHERN DISTRICT OF CALIFORNIA
12    ELLIOTT LAM, individually and on behalf of all
      others similarly situated,
13
                             Plaintiff,
14
             v.                                          Case No. 3:22-cv-07336-JSC
15
      SAM BANKMAN-FRIED, CAROLINE                        DECLARATION OF KURT D. KESSLER
16    ELLISON, and GOLDEN STATE                          IN SUPPORT OF ADMINISTRATIVE L.R.
      WARRIORS, LLC.,                                    7-11 MOTION TO CONSIDER WHETHER
17                                                       CASES SHOULD BE RELATED
18                           Defendants.

19                                                       [N. D. CAL. CIVIL L.R. 3-12]
      THIS DOCUMENT RELATES TO:
20                                                       Judge: Jacqueline Scott Corley
      Pierce v. Bankman-Fried et al.,
21    Case No. 4:22-cv-07444-JSW                         Trial Date:   None set
22                                                       Action Filed: November 20, 2022
      Hawkins v. Bankman-Fried et al.,
23    Case No. 3:22-cv-07620-TSH

24    Jessup v. Bankman-Fried et al.,
      Case No. 4:22-cv-07666-DMR
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                              DECLARATION OF KURT KESSLER (3:22-cv-07336-JSC)
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 1                                 DECLARATION OF KURT D. KESSLER
 2          I, Kurt Kessler, hereby declare:
 3          1.      I am an associate attorney at Audet & Partners LLP. My firm and I serve as counsel for
 4   Plaintiff Elliott Lam in the matter Lam v. Bankman-Fried et al., No. 3:22-cv-07336-JSC.
 5          2.      I have personal knowledge of the matters stated below, and if called as a witness, I could
 6   and would testify competently thereto under oath.
 7          3.      I respectfully submit this declaration in support of Plaintiff Lam’s Administrative Motion
 8   to Consider Whether Cases Should be Related Pursuant to Civil L.R. 3-12.
 9          4.      A stipulation pursuant to Civil L.R. 7-11 could not be obtained because doing so would
10   be difficult if not impossible in view of the fact that the related complaints name several defendants,
11   some abroad, and many that appear from the docket sheet have not been served, let alone appeared in
12   any of the cases thus far. Accordingly, in light of this, obtaining a stipulation by all parties would be
13   close to impossible at this stage of the proceedings, and significant delay is inconsistent with the need to
14   “promptly” alert this Court, pursuant to L.R. 3-12, of related cases pending before multiple judges.
15          5.      Plaintiff Lam will notify and continue to work with Plaintiffs’ counsel in the Pierce,
16   Hawkins, and Jessup actions, as well as any later known defense counsel, to effectuate a stipulation to
17   the extent the Court has not already determined that these cases should be related.
18          6.      Attached as Exhibit 1 is a true and correct copy of the complaint filed in Lam v. Bankman-
19   Fried et al., No. 3:22-cv-07336-JSC.
20          7.      Attached as Exhibit 2 is a true and correct copy of the complaint filed in Pierce v.
21   Bankman Fried et al, No. 4:22-cv-07444-JSW.
22          8.      Attached as Exhibit 3 is a true and correct copy of the complaint filed in Hawkins v.
23   Bankman-Fried et al., Case No. 3:22-cv-07620-TSH.
24          9.      Attached as Exhibit 4 is a true and correct copy of the complaint filed in Jessup v.
25   Bankman-Fried et al., Case No. 4:22-cv-07666-DMR.
26          I declare under the penalty of perjury under the laws of the United States that the foregoing is
27   true and correct. Executed in San Francisco, California, this 12th day of December 2022.
28                                                                         s/ Kurt Kessler
                                                                              Kurt Kessler
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                              DECLARATION OF KURT KESSLER (3:22-CV-07336-JSC)
